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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION

                                              :        Case No. Ohio No. 1:17-cv-521na
 KAREN MEYERS,                                :
 as·Administratrix of the·Estate of           :        JUDGE TIMOTHY S. BLACK
 GABRIEL TAYE et al,·Plaintiffs,              :
                                              :
 vs.· ·                                       :        ORDER ESTABLISHING
 V.vsvs.                                      :        QUALIFIED SETTLEMENT
                                              :        FUND AND APPOINTING
 CINCINNATI BOARD OF                          :        FUND ADMINISTRATOR
 EDUCATION, et al.,· · ·                      :
 ·Defendants                                  :
                                              :



       For good cause shown, the Joint Petition and Application to Establish Qualified

Settlement Fund and appoint Fund Administrator is granted. It is hereby ordered that:

   1. The Gabriel Benyam Taye Qualified Settlement Fund (‘Fund”) is established

       as a Qualified Settlement Fund within the meaning of Treasury Regulation

       1.468B-1.

   2. The Court shall accept jurisdiction over the non-monetary terms of the settlement

       agreement attached to the petition as part of its assumption of jurisdiction over the

       Qualified Settlement Fund.

   3. Karen D. Meyers, MBA/JD, MEd, CPCU, CLU, FLMI, CSSC, MSSC of K.D.

       Meyers & Associates, PSC, 2651 Observatory Avenue, Cincinnati, Ohio 45208, is

       appointed as Administrator of said Fund.

   4. Any monies received in settlement of this matter shall be held in said Fund under

       the terms of the aforementioned Petition until an Entry Ordering Distribution of
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        said Funds (‘Order”) is obtained from the Probate Court of Hamilton County,

        Ohio as to survival and wrongful death claims and filed with this Court.

   5.   The name and address of the Financial Institution(s) receiving the funds in this

        matter shall be filed with the Court at least five days prior to the deposit of said

        funds.

   6. The Financial Institution in which the monies are deposited shall be noticed by

        certified mail, regular mail and personally by the Qualified Fund Administrator

        that no monies may be distributed to any party at any time without an allocation

        hearing and a filing of an Order from the Probate Court of Hamilton County, Ohio

        authorizing the distribution of the survival and wrongful death claims and

        associated costs and fees. A receipt of funds by said Financial Institution shall be

        filed with this Court no later than 72 business hours after the funds are received.

        Copies of said Notice shall be filed with this Court the day in which said Notice

        is placed into the United States Postal Mail System.

   7. Any and all monies received in settlement of this matter are to be placed in United

        States Government paper, funds holding only United States government paper,

        Certificates of Deposit subject to the Federal Deposit Insurance Corporation, or

        like financial instruments and may not be distributed from the Fund under any

        circumstances without an Order from the Probate Court of Hamilton County,

        Ohio on the survival and wrongful death claims and a filing of said Order with

        this Court as denoted above.

   8. Given the reasons stated in paragraphs 5, 6, and 7 of this Order and the fact that a

        Bond would reduce the monies available to the ultimate distributees/court-ordered



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      recipients, no Bond shall be required in this matter as has been the past practice of

      this Court under like circumstances.

   9. The Fund is authorized to enter into Agreements, including full and final releases

      of the Fund, with appropriate persons, including the use of settlements with

      periodic payments upon obtaining any necessary orders from the Probate Court.

   10. The Fund is authorized to effect qualified assignments of any resulting periodic

      payment liability within the meaning of Section 130 (c) of the Internal Revenue

      Code to a qualified assignee(s) and execute any associated documents.

   11. The Fund is ordered to file quarterly Financial Statements with the Court no later

      than the 20th day of the month following the month for which the report is

      submitted and Status Reports every six months starting October 1, 2021. A copy

      of the Report showing the balance on the involved Financial Institution’s (s’)

      paper shall be filed with said Quarterly Statement.

   12. The Fund is ordered, recognizing the interest rate environment is extremely low in

      the restricted investments, to utilize interest earned by the Fund, if any, to make

      payment toward the Fund Administrator’s Fees and Expenses with the balance

      remaining due labeled as such and distributed when authorized by Order of the

      Court.

   13. The Fund is ordered to (i) file any tax returns as they become due, (ii) pay any

      taxes as they become due from earnings on the Fund, and (iii) file a final

      Distribution Report with this Court terminating the Fund once all matters are

      resolved.




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   14. The Fund is ordered, recognizing the interest rate environment is extremely low

       in the restricted investments, to utilize interest earned by the Fund, if any, to

       make payment toward the Fund Administrator’s Fees and Expenses with the

       balance remaining due labeled as such and distributed by Order of the Court. All

       other expenses of said Fund Administration shall be paid from $12,250.00 of the

       settlement which shall be held back as designated in Probate Filings. The

       Administrator shall file Invoices for Services for approval with this Court. If any

       Funds set aside for Administrative Fees remain in the Qualified Settlement Fund

       when this Fund is terminated, they shall be distributed pursuant to the final order

       of the Probate Court of Hamilton County, Ohio which has been filed with this

       Court as denoted in Para. 6 above.

IT IS SO ORDERED



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       ____
          _ _______
     d States
United     tes District Court
       Staate

Agreed:

s/Alphonse A. Gerhardstein
Alphonse A. Gerhardstein (0032053)
Trial Attorney for Plaintiffs

s/Aaron M. Herzig
Aaron M. Herzig (0079371)
Trial Attorney for CPS Defendants

s/John Welch
John Welch (0055337)
Trial Attorney for Defendant McLaughlin




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